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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

  AMERICAN SENIOR COMMUNITIES, L.L.C.,                )
                                                      ) Case No.: 1:17-cv-3273-TWP-DML
                Plaintiff,                            )
         v.                                           )
                                                        Honorable Tanya Walton Pratt
                                                      )
  JAMES BURKHART, et al.,                             )
                                                      ) Honorable Debra McVicker Lynch
                 Defendants.                          )

                                              ORDER

         This matter is before the Court on Plaintiff American Senior Communities, LLC’s (“ASC”)

  Unopposed Motion for Extension of Deadlines. (Dkt. 276). The Court, being duly advised, hereby

  GRANTS the extension of deadlines and amends the previous orders (Dkts. 268 and 269) as

  follows:

     1. ASC shall submit a proposed order or a stipulation of dismissal of ASC’s claims against

  Defendant Roger Werner by April 10, 2020.

     2. ASC shall disclose expert reports by May 1, 2020.

     3. Defendants shall disclose expert reports by July 31, 2020, or if ASC has disclosed no

  experts, Defendants shall make their expert disclosures by July 31, 2020.

     4. Any party who wishes to limit or preclude expert testimony at trial shall file any such

  objections by August 31, 2020.

     5. Expert witness discovery and discovery relating to damages shall be completed by October

  30, 2020.

         SO ORDERED.

         Date: 3/26/2020                    ____________________________________
                                               Debra McVicker Lynch
                                               United States Magistrate Judge
                                               Southern District of Indiana
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  Distribution:

  All ECF-registered counsel of record via email

  JAMES BURKHART
  15426-028
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  Inmate Mail/Parcels
  MAXWELL AIR FORCE BASE
  MONTGOMERY, AL 36112

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